
ORDER
This is a Superior Court civil action in which the jury awarded the plaintiffs, an engineering partnership, $14,000 for professional services rendered by the partnership to the Town of Johnston.
On May 4, 1988, the town, through its counsel, appeared before this court and attempted to show cause why its appeal should not be summarily dismissed in light of our holding in Hurdis Realty, Inc. v. Town of North Providence, 121 R.I. 275, 397 A.2d 896 (1979). After consideration of memoranda and arguments presented on behalf of the litigants, it is our belief that the town has failed to show cause.
Accordingly, the town’s appeal is denied and dismissed, and the judgment appealed from is affirmed.
